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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA
                              EASTERN DIVISION

NORTH DAKOTA HUMAN RIGHTS     §
COALITION, IMMIGRANT          §               Civil Action No. 3:23-cv-00160-PDW-ARS
DEVELOPMENT CENTER, and       §
PLAINTIFF DOE                 §
                              §
          Plaintiffs,         §
v.                            §
                              §
PATRIOT FRONT, THOMAS         §
ROUSSEAU, TREVOR VALESCU, and §
JOHN DOES 1 – 10              §
                              §
          Defendants.         §

    MOTION TO DISMISS ON BEHALF OF DEFENDANTS ROUSSEAU AND
                            VALESCU

      Defendants Thomas Rousseau and Trevor Valescu, by and through the

undersigned counsel, move to dismiss the Plaintiffs’ Complaint pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, on the grounds and for the reasons

fully set forth in the memorandum filed with this motion.

                                       Respectfully submitted,

                                       MAGANA & VAN DYKE, PLLC

                                       /s/ Jason Lee Van Dyke
                                       Jason Lee Van Dyke
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                                       Valescu
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                             CERTIFICATE OF SERVICE

I hereby certify that on February 9, 2024, a true and accurate copy of the foregoing were

served via ECF procedures of this Court to all counsel of record.

                                                /s/ Jason Lee Van Dyke
                                                JASON LEE VAN DYKE
